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                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF DELAWARE

In re:                                                          )   Chapter 11
                                                                )
CENTER CITY HEALTHCARE, LLC d/b/a                               )   Case No. 19-11466 (MFW)
HAHNEMANN UNIVERSITY HOSPITAL, et                               )
al.,1                                                           )   Jointly Administered
                                                                )
                                       Debtors.                 )   Related to Docket No. 4915

      CERTIFICATION OF NO OBJECTION TO STIPULATION BETWEEN DEBTORS
      AND JOELLE LEONE AND MICHAEL WINN REGARDING ALLOWED CLAIM

            The undersigned counsel to the above-captioned debtors and debtors-in-possession (the

  “Debtors”) hereby certifies that:

            1.            On October 17, 2023, the Notice (the “Notice”) of Stipulation between Debtors and

  Joelle Leone and Michael Winn Regarding Allowed Claim [D.I. 4915] (the “Stipulation”) was

  filed with the Court.

            2.            Pursuant to the Notice, objections, if any, to the Stipulation were required to have

  been filed with the Court and served on the undersigned so as to be received on or before October

  31, 2023 at 4:00 p.m. (prevailing Eastern Time) (the “Objection Deadline”).

            3.            The Objection Deadline has passed and no formal objections or responses were

  served upon the undersigned counsel or entered on the Court’s docket.

            4.            Accordingly, the Stipulation may be approved.




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            The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number,
            are: Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St.
            Christopher’s Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of PA,
            L.L.C. (1617), SCHC Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care Center,
            L.L.C. (6447), SCHC Pediatric Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast Pediatrics,
            L.L.C. (4056), TPS of PA, L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C. (5536), TPS
            IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C. (5540). The Debtors’ mailing address is 216 N. Broad
            Street, 4th Floor, Philadelphia, Pennsylvania 19102.



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             WHEREFORE, the Debtors respectfully request that an order, substantially in the form

attached to the Notice and hereto as Exhibit A, be entered at the earliest convenience of the Court.

Dated: November 1, 2023                           SAUL EWING LLP

                                            By:   /s/ Monique B. DiSabatino
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                                                  Counsel for Debtors and Debtors in Possession




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